       Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 1 of 21



           IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )          No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

                     DECLARATION OF R. JAMES VALVO, III

      I, R. James Valvo, III, pursuant to 28 U.S.C. § 1746, do hereby declare:

      1.     I am Counsel and Senior Policy Advisor at Cause of Action Institute

(“CoA Institute”).    My responsibilities include, among other things, working on

matters involving the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.         I

represent Plaintiff CoA Institute in this lawsuit.

      2.     I submit this declaration in support of CoA Institute’s Opposition and

Cross-Motion for Summary Judgment. The statements in this declaration are based

upon knowledge that I have acquired in the performance of my official duties,

information provided to me in my official capacity by other CoA Institute personnel,

and my first-hand experience reviewing and analyzing relevant records maintained

by CoA Institute during the ordinary course of its business.

      3.     On April 15, 2019, I oversaw and caused to be filed a FOIA request to

the Department of Commerce (“Commerce”) seeking access to, among other things, a
       Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 2 of 21



“copy of the Commerce Secretary’s final report to the President regarding the Section

232 Investigation on the Effect of Imports of Uranium on the National Security.”

      4.       On May 16, 2019, Commerce issued a final determination letter

granting CoA Institute’s request and stating that it “intend[s] to provide all non-

exempt documents responsive to your request.” A true and correct copy of that letter

is attached as Exhibit 1 to this Declaration.

      5.       Between May 16, 2019 and August 16, 2019, I participated in an email

exchange with Grace Agyekum, FOIA Officer and Public Liaison, Bureau of Industry

and Security, Department of Commerce, discussing CoA Institute’s FOIA request for

the uranium report. A true and correct copy of that email exchange is attached as

Exhibit 2 to this Declaration.

      6.       Commerce has not produced the uranium report to CoA Institute.

      7.       I supervised a team of investigators at CoA Institute that analyzed

publicly-available data about reports Commerce and two other entities have created

under their Section 232 authority since 1963. A true and correct copy of the data

underlying that analysis is attached as Exhibit 3 to this Declaration.

      8.       Excluding the investigations into automobiles (the subject of this

lawsuit), uranium (a report Commerce refuses to release), and titanium sponge

(investigation is ongoing), CoA Institute investigators made the following findings:

           x   Twenty-eight investigations have been conducted under Section 232

               authority since 1963.

           x   Reports have been created for twenty-two of those investigations.



                                           2
           Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 3 of 21




            •   Of the twenty-two reports, three were made available within one day of

                being issued and eleven reports were made available within eight days

                of being issued.

            • As of the filing of CoA Institute's Opposition and Cross-Motion for

                Summary Judgment, it has been 198 days since Commerce transmitted

                the automobile report to the President. It has taken Commerce longer

                to release a Section 232 report only once before: the 1999 report on "The

                Effect of Imports of Crude Oil on National Security" (270 days). The

                Secretary of the Treasury took over 600 days to publish the 1984 report

                on "The Impact of Ferroalloy Imports on the National Security."

      9.        Commerce did not publish all of the reports detailed above. Rather,

some were published by the Office of Emergency Planning and some by the

Department of the Treasury, two entities that previously had Section 232 statutory

authority. See Trade Expansion Act of 1962 § 232, Pub. L. 87-794, 76 Stat. 872, 877

(originally conferring authority on the Director of the Office of Emergency Planning);

Trade Act of 1974 § 126, Pub L. 93-618, 88 Stat. 1978 (transferring Section 232

authority to the Secretary of the Treasury); Omnibus Trade and Competitiveness Act

of 1988 § 1501, Pub. L. 100-418, 102 Stat. 1107 (transferring Section 232 authority to

the Secretary of Commerce).

                             perjury that the foregoing is true and correct.


R ames Valvo, III
Executed this 3rd Day of September 2019.


                                             3
Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 4 of 21




                EXHIBIT

                              1
        Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 5 of 21
                                                       UNITED STATES DEPARTMENT OF COMMERCE
                                                       Under Secretary for Industry and Security
                                                       Washington, O.C. 20230



                                                              MAY 1 6 2019

Mr. Kevin Schmidt
Director of Investigations
Cause of Action Institute
1875 Eye Street, Suite 800
Washington, DC 20006

Via electronic mail: kevin.schmidt@casueofaction.org

BIS Tracking Number: BIS 19-088

Re: Freedom of Information Act Request

Dear Mr. Schmidt:

This is in response to your April 15, 2019, Freedom oflnformation Act (FOIA), 5 U.S.C. § 552,
request to the Department of Commerce's Bureau oflndustry and Security (BIS) for "a copy of
the Commerce Secretary's final report to the President regarding the section 232 investigation on
the effect of imports of uranium on the national security, and the DOD response letter to the
Section 232 investigation on the effect of imports of uranium on the national security."

We intend to provide all non-exempt documents responsive to your request. Furthermore, please
be advised that the report will be made publicly available via publication in the Federal Register,
pursuant to 15 C.F.R. § 7IO(c), after the President's review is complete.

If you have any questions or concerns or would like to discuss any aspect of your request, you
~ay contact the Bureau's FOIA Public Liaison:

       Grace Agyekum
       Bureau of Industry and Security
       Office of Planning, Evaluation and Management
       1401 Constitution Ave. NW, Room 6622
       Washington, DC 20230
       Tel: (202) 482-7893
       email: grace.agyekum@bis.doc.gov

Please refer to your FOIA request tracking number when contacting us.

In addition, you may contact the Office of Government Information Services (OGIS) at the
National Archives and Records Administration to inquire about the FOIA mediation services
they offer. The contact information for OGIS is as follows:

       Office of Government Information Services
       National Archives and Records Administration
        Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 6 of 21



       8601 Adelphi Road-OGIS
       College Park, Maryland 20740-6001
       e-mail at ogis@nara.gov;
       telephone at 202-741-5770
       toll free at 1-877-684-6448
       facsimile at 202-741-5769

You have the right to appeal this decision of your FOIA request. An appeal must be received
within 90 calendar days of the date of this response Jetter. Address your appeal to the following
office:

       Assistant General Counsel for Employment, Litigation and Information
       U.S. Department of Commerce
       Office of the General Counsel, Room 5896
       1401 Constitution Ave., NW
       Washington, D.C. 20230

You may also appeal by e-mail to FOIAAppeals@doc.gov or by FOIAonline, if you have an
account in FOIAonline, at https://foiaonline.regulations.gov/foia/action/public/home#. The
appeal should include a copy of the original request and initial denial, if any. All appeals should
include a statement of the reasons why the requested records should be made available and why
the adverse determination was in error.

The appeal letter, the envelope, and the e-mail subject line should be clearly marked "Freedom
of Information Act Appeal." The e-mail, FOIAonline, and office mail are monitored only on
working days during normal business hours (8:30 a.m. to 5:00 p.m., Eastern Time, Monday
through Friday). FOIA appeals posted to the e-mail box, FOIAonline, or the office after normal
business hours will be deemed received on the next normal business day. If the 90th calendar
day for submitting an appeal falls on a Saturday, Sunday or legal public holiday, an appeal
received by 5:00 p.m., Eastern Time, the next business day will be deemed timely.

                                                Sincerely,



                                               1:2~
                                                Acting Chief Financial Officer and
                                                 Director of Administration
Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 7 of 21




                EXHIBIT

                              2
        Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 8 of 21


From:              James Valvo
To:                Grace Agyekum
Cc:                Kevin Schmidt
Subject:           RE: FOIA Request for BIS 19-088
Date:              Friday, August 16, 2019 4:49:00 PM
Attachments:       image001.png


Ms. Agyekum,

I have not heard back from you. Does Commerce intend to release the uranium report?

Thank you,
James


From: James Valvo
Sent: Wednesday, August 14, 2019 8:33 AM
To: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

I still have not seen the uranium report that is responsive to our FOIA request. Will you please
make that report available?

Thank you,
James


From: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Sent: Monday, July 15, 2019 2:19 PM
To: James Valvo <James.Valvo@causeofaction.org>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Hello Mr. Valvo:

The executive summary will be printed in the FR within the next 30 days and the full report will be on
the BIS website. Please feel free to contact me after the next days if the report is still not found.


Thank you,

Grace

Grace Agyekum
Bureau of Industry and Security/DOC
Office of Planning, Evaluation & Management
CFO & DOA, Room 6521
        Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 9 of 21


1401 Constitution Avenue, N.W.
Washington, DC 20230
Telephone: 202-482-7893
Email: grace.agyekum@bis.doc.gov



From: James Valvo <James.Valvo@causeofaction.org>
Sent: Monday, July 15, 2019 11:25 AM
To: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

I am emailing to follow up on Commerce’s final determination on request BIS 19-088. You
previously informed Cause of Action Institute that you intended to produce the report and that it
would be available “after the President’s review is complete.”

As you may know, on July 12, 2019, the White House issued a memorandum summarizing that it
had completed its review of the effects of uranium imports on national security. That memorandum
is available on the White House’s website here: https://www.whitehouse.gov/presidential-
actions/memorandum-effect-uranium-imports-national-security-establishment-united-states-
nuclear-fuel-working-group/

Although we do not recognize the delay between Commerce’s May 16 final determination of our
FOIA request and the President’s review of the report as a valid basis to delay a FOIA request, that
excuse for non-production is no longer present. Accordingly, will Commerce now produce the report
to us?

Thank you,

James Valvo | Counsel & Senior Policy Advisor
1875 Eye Street, NW, Suite 800
Washington, DC 20006
james.valvo@causeofaction.org
202-417-3576

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contents, is strictly prohibited. If you have received this communication in error, please re-send this
communication to the sender and delete the original message and any copy of it from your computer system.
Thank you.


From: James Valvo
Sent: Thursday, May 16, 2019 11:42 AM
       Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 10 of 21


To: Grace.Agyekum@bis.doc.gov
Cc: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: RE: FOIA Request for BIS 19-088

Ms. Agyekum,

Thank you for providing a final determination on request BIS 19-088. In the letter, the agency
states that it “intend[s] to provide all non-exempt documents responsive to [the] request.” We
interpret this as a grant of our request, subject to the proper application of statutory exemptions.

As you know, the FOIA statute provides that upon determining that an agency will grant a request,
an agency “shall make the records promptly available[.]” 5 U.S.C. § 552(a)(3)(A) (emphasis added).
When does the Department of Commerce intend to produce the records responsive to this request to
Cause of Action Institute?

Thank you,

James Valvo | Counsel & Senior Policy Advisor
1875 Eye Street, NW, Suite 800
Washington, DC 20006
james.valvo@causeofaction.org
202-417-3576

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contents, is strictly prohibited. If you have received this communication in error, please re-send this
communication to the sender and delete the original message and any copy of it from your computer system.
Thank you.


From: Grace Agyekum <Grace.Agyekum@bis.doc.gov>
Sent: Thursday, May 16, 2019 10:47 AM
To: Kevin Schmidt <kevin.schmidt@causeofaction.org>
Subject: FOIA Request for BIS 19-088

Dear Mr. Schmidt:

Attached, please find a response letter to your request. Feel free to contact me if you have
any questions.

Thank you,

Grace Agyekum
FOIA Officer and Public Liaison
     Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 11 of 21


Bureau of Industry and Security (BIS) | OCFO&DOA
U.S. Department of Commerce
grace.agyekum@bis.doc.gov
202.482.7893
Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 12 of 21




                EXHIBIT

                              3
                           Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 13 of 21



                                   Number of Days Between Date Section 232 Report Created
                                              and Date Released to the Public
                                               (grouped in 30-day increments)
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                                                           Number of Days (grouped in 30-day increments)


                                           The median number of days for publication is: 15




                                                                                1
                                            Section 232 Investigations Where Reports Issued
                                     Fed. Reg.
                      Initiation                                Fed. Reg. Summary   Days Between Report
 232 Investigation                 Announcement   Report Date                                                 Conclusion          Public Disclosure Language
                        Date                                         Published      Date and Publication
                                       Date
Manganese and
                                                                                                           Concluded that
Chromium                                                                                                                        "The Director of the Office of
                                                                                                           imports did not
Ferroalloys and                                                                                                                 Emergency Planning made
                      5/20/1963                   7/17/1964         8/8/1964                22             threaten to
Electrolytic                                                                                                                    public on July 17, 1964 his
                                                                                                           impair the
Manganese and                                                                                                                   report in the above matter."
                                                                                                           national security.
Chromium Metals

                                                                                                           Concluded that
                                                                                                                                "The Director of the Office of
                                                                                                           imports did not
Tungsten Mill                                                                                                                   Emergency Planning made
                      1/2/1964                    9/23/1965         9/29/1965                6             threaten to
Products                                                                                                                        public on September 23, 1965
                                                                                                           impair the
                                                                                                                                his report in the above matter"
                                                                                                           national security.

                                                                                                           Concluded that       "The Director of the Office of
Watches,                                                                                                   imports did not      Emergency Planning made
Movements and         4/2/1965       4/8/1965     1/11/1967         1/18/1967                7             threaten to          public on January 11, 1967, his
Parts                                                                                                      impair the           report to the President in the
                                                                                                           national security.   above matter."

                                                                                                           Concluded that
Chromium,                                                                                                                       "The Director of the Office-of
                                                                                                           imports did not
Manganese and                                                                                                                   Emergency Preparedness made
                      5/24/1968      6/8/1968     8/14/1970         8/15/1970                1             threaten to
Silicon Ferroalloys                                                                                                             public on August 14, 1970, his
                                                                                                           impair the
and Refined Metals                                                                                                              report in the above matter"
                                                                                                           national security.

                                                                                                           Concluded that
Miniature and                                                                                                                   "The Director of the Office of
                                                                                                           imports did not
Instrument                                                                                                                      Emergency Preparedness made
                      1/31/1969     2/13/1969      5/5/1971         5/7/1971                 2             threaten to
Precision Ball                                                                                                                  public on May 5, 1971, his
                                                                                                           impair the
                                                                                                                                                                  Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 14 of 21




Bearings                                                                                                                        report in the above matter."
                                                                                                           national security.




                                                                         2
EHV Power Circuit                                                         Concluded that
                                                                                               "The Director of the Office of
Breakers and EHV                                                          imports did not
                                                                                               Emergency Preparedness made
Power                 8/7/1972    8/17/1972   5/25/1973   6/1/1973    7   threaten to
                                                                                               public on May 25, 1973, his
Transfom1ers and                                                          impair the
                                                                                               report in the above matter."
Reactors                                                                  national security.

                                                                                             "The Secretary's report to the
                                                                                             President and the Assistant
Oil (includes crude                                                       Concluded that Secretary's report of his
oil, crude oil                                                            imports            investigation are published
derivatives and                               1/24/1975   1/30/1975   6   threatened to      herein and copies thereof are
products and                                                              impair the         available at the office of the
related products)                                                         national security. Assistant Secretary for
                                                                                             Enforcement . . . Department of
                                                                                             the Treasury."
                                                                                             "The Secretary's report to the
                                                                                             President and the General
                                                                          Concluded that
                                                                                             Counsel's report of his
Nuts, Bolts, and                                                          imports did not
                                                                                             investigation are published
Large Screws of       2/10/1978   3/1/1978    11/1/1978   11/6/1978   5   threaten to
                                                                                             herein, and copies thereof are
Iron or Steel                                                             impair the
                                                                                             available through the Office of
                                                                          national security.
                                                                                             Public Affairs, Department of
                                                                                             the Treasury[.]"

                                                                          Concluded
                                                                          imports
                                                                          threatened to
                                                                                               "The Secretary's report to the
                                                                          impair the
Oil (includes crude                                                                            President and the General
                                                                          national security.
oil, crude oil                                                                                 Counsel's report are published
                                                                          The President
derivatives and       3/15/1978   2/6/1979    3/21/1979   3/29/1979   8                        herein and copies thereof are
                                                                          imposed a fee
products and                                                                                   available through the Office of
                                                                          on oil imports,
related products)                                                                              Public Affairs, Department of
                                                                          which was later
                                                                                               the Treasury[.]"
                                                                          found to be
                                                                                                                                 Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 15 of 21




                                                                          illegal and
                                                                          removed.




                                                               3
                                                                            Concluded that
Glass-Lined
                                                                            imports did not "The public report of the
Chemical
                      3/13/1981   9/16/1981   3/18/1982   3/18/1982    0    threaten to        investigation follows." -in Fed.
Processing
                                                                            impair the         Reg.
Equipment
                                                                            national security.


                                                                                                 "This Notice contains the
                                                                            President found
                                                                                                 Executive Summary of the
                                                                            that imports do
                                                                                                 report; the entire report is
                                                                            not threaten to
Chromium,                                                                                        available for inspection at the
                                                                            impair the
Manganese, and        8/18/1981   10/8/1981   8/1/1982    5/21/1984   659                        International Trade
                                                                            national security,
Silicon Ferroalloys                                                                              Administration Records
                                                                            but accepted
                                                                                                 Inspection Facility, Room 4001-
                                                                            Commerce
                                                                                                 B, U.S. Department of
                                                                            recommendation
                                                                                                 Commerce[.]"


                                                                                               "The public record concerning
                                                                                               this investigation, including the
                                                                                               Secretary's report to the
                                                                                               President, will be maintained in
The Effect of                                                               Concluded that
                                                                                               the International Trade
Imports of Nuts,                                                            imports did not
                                                                                               Administration's [FOIA]
Bolts, and Large      2/11/1982   3/31/1982   2/25/1983   3/2/1983     5    threaten to
                                                                                               Inspection facility, Room 4102 .
Screws on National                                                          impair the
                                                                                               . . U.S. Department of
Security                                                                    national security.
                                                                                               Commerce . . . Copies of entire
                                                                                               report are also available in
                                                                                               Room 3875, U.S. Department of
                                                                                               Commerce[.]"
                                                                                                                                   Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 16 of 21




                                                               4
                                                                            August 10, 1988
                                                                                               "Both the Executive Summary of
                                                                            President asked
                                                                                               Commerce’s July 15, 1988,
                                                                            for supplemental
                                                                                               section 232 report and the
                                                                            analysis of
                                                                                               complete text of the November
                                                                            expected impact
                                                                                               16, 1988, supplemental
                                                                            of other
                                                                                               Commerce/Defense report are
                                                                            Administration
Antifriction                                                                                   reproduced below. A
                     7/17/1987    8/4/1987    7/15/1988   1/18/1989   187   initiatives.
Bearings                                                                                       declassified version of the July
                                                                            November 28,
                                                                                               15 report will be available for
                                                                            1988 - President
                                                                                               public review and duplication in
                                                                            concluded that
                                                                                               the Bureau of Export
                                                                            imports did not
                                                                                               Administration . . . Room 4886,
                                                                            threaten to
                                                                                               U.S. Department of
                                                                            impair national
                                                                                               Commerce[.]"
                                                                            security.


                                                                            "President found
                                                                            that imports
                                                                                               "The Executive Summary of
                                                                            threaten to
                                                                                               Commerce's December 1, 1988
                                                                            impair national
                                                                                               Section 232 report is reproduced
                                                                            security. Taking
                                                                                               below. A declassified version of
                                                                            into account the
Crude Oil and                                                                                  the December 1 report will be
                     12/1/1987   12/29/1987   1/3/1989    2/13/1989   41    Administration's
Petroleum Products                                                                             available for public review and
                                                                            detailed program
                                                                                               duplication in the Bureau of
                                                                            to improve
                                                                                               Export Administration . . . Room
                                                                            energy security,
                                                                                               4886, U.S. Department of
                                                                            no action was
                                                                                               Commerce[.]"
                                                                            taken to adjust
                                                                            imports."
                                                                                                                                  Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 17 of 21




                                                               5
                                                                                              "The Executive Summary of
                                                                                              Commerce's January 11, 1989,
                                                                                              section 232 report is reproduced
                                                                           Concluded that
                                                                                              below. A declassified version of
                                                                           imports did not
Plastic Injection                                                                             the Commerce report will be
                    1/11/1988     3/3/1988    2/17/1989   4/3/1989    45   threaten to
Molding                                                                                       available for public review and
                                                                           impair the
                                                                                              duplication in the Bureau of
                                                                           national security.
                                                                                              Export Administration . . . Room
                                                                                              4886, U.S. Department of
                                                                                              Commerce[.]"


                                                                                              "The text of the Commerce
                                                                                              report (excluding business
                                                                           Concluded that proprietary, information) will be
                                                                           imports did not made available for public review
Gears and Gearing
                    10/17/1991   11/6/1991    8/11/1992   8/11/1992   0    threaten to        and duplication in the Bureau of
Products
                                                                           impair the         Export Administration . . . Room
                                                                           national security. 4525, U.S. Department of
                                                                                              Commerce . . . The Executive
                                                                                              Summary follows below."


                                                                                              The "Commerce report
                                                                                              (excluding business proprietary
                                                                                              and national security classified
                                                                                              information) will be made
                                                                                              available for public review and
                                                                           Concluded that
Ceramic                                                                                       duplication in the Bureau of
                                                                           imports are not a
Semiconductor       11/10/1992   11/25/1992   8/18/1993   9/14/1993   27                      Export Administration . . . Room
                                                                           present threat to
Packaging                                                                                     4525, U.S. Department of
                                                                           national security.
                                                                                              Commerce. . . Copies are
                                                                                              available for sale from the
                                                                                              National Technical Information
                                                                                              Service. . . The Executive
                                                                                                                                 Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 18 of 21




                                                                                              Summary follows below."




                                                               6
                                                                           After concurring
                                                                           in Commerce's
                                                                           finding that oil
                                                                           imports threaten
Crude Oil and                                                              to impair the      Posted on Commerce BIS
                     3/11/1994   4/12/1994   12/1/1994   6/9/1995    190
Petroleum Products                                                         national security, website
                                                                           the President
                                                                           determined that
                                                                           no action was
                                                                           necessary.




                                                                           After approving      "Copies of the complete report
                                                                           finding that         may be requested from: Bureau
                                                                           imports of crude     of Export Administration . . .
The Effect of
                                                                           oil threaten the     U.S. Department of Commerce,
Imports of Crude
                     4/28/1999   5/4/1999    11/1/1999   7/28/2000   270   national security,   Room 6883 . . . This component
Oil on National
                                                                           the President        does not maintain a separate
Security
                                                                           determined that      public inspection facility.
                                                                           no action was        Requesters should first view
                                                                           necessary.           BXA's website[.]"



                                                                                                The "Secretary's report and
                                                                                                certain records related to this
                                                                                                investigation (with any business
                                                                            President           confidential information
                                                                           determined that      redacted) are accessible in
Iron Ore and Semi-
                     2/1/2001    2/6/2001    10/1/2001   1/15/2002   106   no action            accordance with the regulations
Finished Steel
                                                                           necessary to         published in . . . 15 CFR 4.1 et
                                                                           adjust imports.      seq. Specifically, the above
                                                                                                                                   Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 19 of 21




                                                                                                documents are maintained on the
                                                                                                Bureau of Export
                                                                                                Administration's Web page[.]"




                                                              7
                                                    Current Administration
                                                                                  Concluded
                                                                                  imports
The Effect of                                                                                        Posted by Commerce on
                                                                             30   threatened to
Imports of                                                                                           2/16/2018
                                                                                  impair the
Aluminum on the
                                                                                  national security.
National Security     4/26/2017    5/9/2017   1/17/2018        2/16/2018

                                                                                  Concluded
                                                                                  imports
The Effect of                                                                                        Posted by Commerce on
                                                                             30   threatened to
Imports of Steel on                                                                                  2/16/2018
                                                                                  impair the
the National
                                                                                  national security.
Security              4/19/2017   4/26/2017   1/17/2018        2/16/2018

                                                                                  Concluded
                                                                                  imports
The Effect of                                                                                        Presidential Proclamation
                                                                                  threatened to
Imports of                                                                                           Summary
                                                                                  impair the
Automobiles and
                                                                                  national security.
Automotive Parts      3/23/2018   3/30/2018   2/17/2019
The Effect of
Imports of Uranium
on the National
Security              7/18/2018   7/25/2018
Imports of
Titanium Sponge        3/4/2019    3/8/2019
                                                                                                                                 Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 20 of 21




                                                              8
                      Investigations with No Reports Issued
                                       Fed. Reg.     Fed. Reg.
                        Initiation                                     Investigation
 232 Investigation                   Announcement    Summary
                          Date                                          Terminated
                                         Date        Published

Anti-Friction                                                    Investigation terminated
                       10/16/1964     10/23/1964     11/2/1966
Bearings and Parts                                               at petitioner's request

Oil (includes crude
                                                                 Presidential
oil, crude oil
                                                     4/9/1973    Proclamation April 18,
derivatives and
                                                                 1973
products)
Oil (includes crude                                            The President
oil, crude oil                                                 terminated oil imports
derivatives and        11/12/1979                   11/14/1979 from Iran via
products and                                                   presidential
related products)                                              proclamation.

                                                                 "In March 1982 the
                                                                 Secretary reported that
                                                                 the 1979 finding of the
                                                                 Treasury Department's
                                                                 232 study on oil was still
Crude Oil from
                       3/10/1982                     3/11/1982   valid: that imports
Libya
                                                                 threatened to impair the
                                                                 national security. The
                                                                 President embargoed
                                                                 crude oil produced in
                                                                 Libya."

                                                                 On May 20, 1986, the
Metal-Cutting and
                                                                 President deferred a
Metal-Forming          3/10/1983       4/7/1983
                                                                 formal decision in the
Machine Tools
                                                                 Section 232
                                                                                              Case 1:19-cv-00778-CJN Document 24-3 Filed 09/03/19 Page 21 of 21




                                                                10/23/1989 President
                                                    Not found &
                                                                concluded imports did
Uranium                12/30/1988     2/27/1989      not in BIS
                                                                not threaten to impair
                                                        PDF
                                                                the national security.


                                                                               9
